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 5
                                UNITED STATES BANKRUPTCY COURT
 6
                                          DISTRICT OF ARIZONA
 7
      In re:                                           )   Chapter 7
 8                                                     )
 9    SCOTTSDALE PET SUITE LLC dba                     )   Case No. 2:20-bk-00020-DPC
      SCOTTSDALE DOGGIE SUITES,                        )
10                                                     )   ORDER SUSTAINING TRUSTEE’S
11                                                     )   OBJECTION TO CLAIM OF ON
                      Debtor.                          )   DECK CAPITAL, INC.
12                                                     )
                                                       )   (Claim No. 3-1)
13
                                                       )
14             The chapter 7 trustee, David A. Birdsell (“Trustee”), having filed the Trustee’s Objection
15    to Claim of On Deck Capital, Inc. on January 28, 2022 at Docket No. 93 (“Objection”) to Proof
16    of Claim No. 3-1 (“On Deck Capital Claim”); the Objection having been properly noticed as
17    evidenced by the Certificate of Mailing on file with the Court; there having been no response to
18    the Objection and the time to do so having expired; and good cause appearing therefor,
19
               IT IS HEREBY ORDERED that the On Deck Capital Claim shall be reclassified as an
20
      allowed general unsecured claim against the estate in the amount of $143,692.44.
21
               SIGNED AND DATED ABOVE.
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